Case 6:24-cv-00357-JDK      Document 25      Filed 11/18/24   Page 1 of 1 PageID #: 505




                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                               TYLER DIVISION

                                            §
UNITEDHEALTHCARE BENEFITS                   §
OF TEXAS, INC., ET AL.,                     §
                                            §
      Plaintiffs,                           §
                                            §    Case No. 6:24-cv-357-JDK
v.                                          §
                                            §
CENTERS FOR MEDICARE &                      §
MEDICAID SERVICES, ET AL.,                  §
                                            §
      Defendants.

                          ORDER UNSEALING FILINGS

       Before the Court are the parties’ notices regarding sealed filings. Docket Nos.

 22; 23. Neither party objects to the unsealing of all previous filings in this case that

 were provisionally filed under seal.

       Accordingly, the Court ORDERS that all motions, briefs, and other documents

 previously filed under seal in this case be UNSEALED.

        So ORDERED and SIGNED this 15th day of November, 2024.



                                            ___________________________________
                                            JEREMY D. KERNODLE
                                            UNITED STATES DISTRICT JUDGE




                                            1
